
83 So.3d 1015 (2012)
Brett J. FRANKLIN, Appellant,
v.
STATE, DEPARTMENT OF REVENUE, CHILD SUPPORT ENFORCEMENT PROGRAM obo Thanya E. PEREZ, Appellee.
No. 1D11-6295.
District Court of Appeal of Florida, First District.
April 4, 2012.
Brett J. Franklin, pro se, for Petitioner.
Pamela Jo Bondi, Attorney General, and Toni C. Bernstein, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
Brett J. Franklin appeals an administrative child support order and an income deduction order. He argues that he did not receive adequate notice of the proceedings and that the amount of child support ordered is excessive in light of his income. Appellee concedes error. We therefore reverse the orders on appeal and remand to the lower tribunal for further proceedings.
REVERSED.
BENTON, C.J., WOLF and VAN NORTWICK, JJ., concur.
